        Case 2:24-cr-02668-AM         Document 18       Filed 12/05/24       Page 1 of 2




                       UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF TEXAS
                             DEL RIO DIVISION

United States of America                       §
                                               §
vs.                                            §     NO: DR:24-CR-02668(1)-AM
                                               §
(1) Guadalupe Cervantes- Vasquez               §

                      FINDINGS OF FACT AND RECOMMENDATION

TO THE HONORABLE ALIA MOSES, CHIEF UNITED STATES DISTRICT JUDGE:

       This case has been referred by a general order to the undersigned United States

Magistrate Judge for the taking of a felony guilty plea. 28 U.S.C. § 636(b)(3) United States v.

Dees, 125 F.3d 261 (5th Cir. 1997).

       On December 5, 2024, the Defendant and counsel appeared before the undersigned who

addressed the Defendant personally in open court. The undersigned informed the Defendant that

he had a right to have his plea taken by the United States District Judge and admonished him as

provided in Rule 11 of the Federal Rules of Criminal Procedure.

       The undersigned finds as follows:

       1)     The Defendant, with the advice of his counsel, has consented to the
              taking of his guilty plea by the undersigned. Sentencing will be
              conducted by the presiding United States District Judge;

       2)     The Defendant understood the nature of the charges and penalties;

       3)     The Defendant understood his constitutional and statutory rights
              and freely and voluntarily waived them;

       4)     The Defendant pled guilty to Count One of the Indictment, illegal
              re-entry into the United States, without a plea agreement;

       5)     The Defendant’s plea was made freely and voluntarily;

       6)     The Defendant is competent to enter this plea of guilty; and
        Case 2:24-cr-02668-AM          Document 18        Filed 12/05/24      Page 2 of 2




       7)      There is sufficient factual basis for this Defendant’s plea;

       8)      The Defendant is hereby found guilty of the charge he pled guilty to;

       9)      The Defendant acknowledges that he may be subject to restitution.

                                     RECOMMENDATION

       It is therefore the recommendation of the undersigned that the Defendant's guilty plea be

ACCEPTED and that a judgement of guilt be entered against the Defendant.

                                             NOTICE

       The parties may wish to file objections to the above recommendations. Failure to file

written objections to the findings and recommendations contained in this Report and

Recommendation within 14 days from the date of its receipt shall bar an aggrieved party from

receiving de novo review by the District Court of the findings and recommendations contained

herein, see 28 U.S.C. § 636(b)(l)(c), and shall bar an aggrieved party "except on grounds of plain

error from attacking on appeal the unobjected-to proposed factual findings and legal conclusions

accepted by the District Court." See Douglass v. United Servs. Auto Ass 'n, 79 F.3d 1415, 1429

(5th Cir. 1996).

       The Clerk shall promptly deliver copies of this Report and Recommendation to all

parties and their counsel.


       This case is referred to the presiding United States District Judge for sentencing.

       Signed this 5th day of December, 2024.
                                                  ______________________________
                                                  MATTHEW H. WATTERS
                                                  UNITED STATES MAGISTRATE JUDGE
